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                                                                                                     8   FACEBOOK, INC.

                                                                                                     9                                   UNITED STATES DISTRICT COURT
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                                                                                                    10                                NORTHERN DISTRICT OF CALIFORNIA

                                                                                                    11   FACEBOOK, INC., a Delaware corporation,      Case No. 19-1277

                                                                                                    12                          Plaintiff,
                                                                                                                                                      COMPLAINT FOR:
                                                                                                    13          v.
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                                                                                                                                                         (1) COMPUTER FRAUD AND ABUSE ACT
                                                                                                    14   GLEB SLUCHEVSKY and                                 (18 U.S.C. § 1030);
                                                                                                         ANDREY GORBACHOV,
                                                                                                    15                                                   (2) CALIFORNIA COMPREHENSIVE
                                                                                                                                Defendants.                  COMPUTER DATA ACCESS AND
                                                                                                    16                                                       FRAUD ACT (Cal. Penal Code § 502);
                                                                                                    17                                                   (3) BREACH OF CONTRACT; AND

                                                                                                    18                                                   (4) FRAUD
                                                                                                                                                      DEMAND FOR JURY TRIAL
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                                                                                                     1      I.          INTRODUCTION

                                                                                                     2            1.       In 2017 and 2018, Defendants Gleb Sluchevsky and Andrey Gorbachov (collectively,

                                                                                                     3 “Defendants”) operated fraudulent web applications designed to deceive their users (“the app users”) into

                                                                                                     4 installing malicious browser extensions (“malicious extensions”). The malicious extensions enabled
                                                                                                                                   1
                                                                                                     5 Defendants to “scrape” information from the app users’ social media profiles and inject advertisements

                                                                                                     6   when the app users visited different social networking sites, including Facebook. Specifically, Defendants’

                                                                                                     7   scraped the app users’ publicly viewable profile information (i.e. name, gender, age range, profile picture)

                                                                                                     8   and private (or non-publicly viewable) list of friends from various social networking sites. Facebook

                                                                                                     9   identified Defendants and their scheme through an investigation of malicious extensions and disabled all
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                                                                                                    10   of Defendants’ known Facebook accounts in 2018. In total, Defendants compromised approximately

                                                                                                    11   63,000 browsers used by Facebook users and caused over $75,000 in damages to Facebook. Facebook

                                                                                                    12   seeks injunctive and other equitable relief and damages against Defendants.

                                                                                                    13      II.         THE PARTIES
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                                                                                                    14            2.       Plaintiff Facebook is a Delaware corporation with its principal place of business in Menlo

                                                                                                    15   Park, California.

                                                                                                    16            3.       Defendants Gleb Sluchevsky and Andrey Gorbachov are individuals residing in Kiev,

                                                                                                    17   Ukraine.

                                                                                                    18            4.       Defendants Sluchevsky and Gorbachov, using aliases such as “Elena Stelmah,” “Amanda

                                                                                                    19   Pitt,” and “Igor Kolomiiets,” operated at least four web applications called “Supertest,” “FQuiz,”

                                                                                                    20   “Megatest,” and “Pechenka” (collectively, the “fraudulent applications”). From 2016 to 2018, these

                                                                                                    21   applications were available on publicly available websites associated with several domains, including

                                                                                                    22   megatest.online, supertest.name, testsuper.su, testsuper.net, fquiz.com, and funnytest.pro.

                                                                                                    23            5.       Defendants were employed by an entity called the Web Sun Group, which offered web

                                                                                                    24   development and other technical consulting services. Defendant Sluchevsky represented himself as the

                                                                                                    25   founder of Web Sun Group.

                                                                                                    26

                                                                                                    27   1 In this complaint, the terms “scrape” and “scraping” are used to describe an automated means to collect
                                                                                                    28   and extract data from websites. Scraping is sometimes also referred to as “web scraping,” “web
                                                                                                         harvesting,” or “data harvesting.”
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                                                                                                     1             6.       At all times material to this action, each Defendant was the agent, servant, employee,

                                                                                                     2   partner, alter ego, subsidiary, or coconspirator of and with the other Defendant, and the acts of each

                                                                                                     3 Defendant were in the scope of such relationship. In doing the acts and failing to act as alleged in this

                                                                                                     4 Complaint, each Defendant acted with the knowledge, permission, and the consent of each of the other

                                                                                                     5 Defendant; and, each Defendant aided and abetted the other Defendant in the acts or omissions alleged

                                                                                                     6 in this Complaint.

                                                                                                     7      III.         JURISDICTION AND VENUE

                                                                                                     8             7.       The Court has federal question jurisdiction over the federal causes of action alleged in this

                                                                                                     9 complaint pursuant to 28 U.S.C. § 1331.
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                                                                                                    10             8.       The Court has supplemental jurisdiction over the state law causes of action alleged in this

                                                                                                    11 complaint pursuant to 28 U.S.C. § 1367 because these claims arise out of the same nucleus of operative

                                                                                                    12 fact as Facebook’s federal claims.

                                                                                                    13             9.       In addition, the Court has jurisdiction over all the causes of action alleged in this complaint
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                                                                                                    14 asserted pursuant to 28 U.S.C. § 1332 because there exists complete diversity between Facebook and each

                                                                                                    15 of the named Defendants, and because the amount in controversy exceeds $75,000.

                                                                                                    16             10.      The Court has personal jurisdiction over Defendants because each Defendant used the

                                                                                                    17 Facebook platform and thereby agreed to Facebook’s Terms of Service (“TOS”), which, in relevant part,

                                                                                                    18 require Defendants to submit to the personal jurisdiction of this Court for litigating any claim, cause of

                                                                                                    19 action, or dispute with Facebook.

                                                                                                    20             11.      In addition, the Court has personal jurisdiction because Defendants knowingly directed and

                                                                                                    21 targeted parts of their scheme at Facebook, which has its principal place of business in California. By

                                                                                                    22 personally using Facebook, collecting Facebook user information, Defendants transacted business and

                                                                                                    23 engaged in commerce in California. For example, Defendants presence on Facebook included at least 13

                                                                                                    24 Facebook accounts and 13 Facebook pages. Furthermore, Defendants created and marketed malicious

                                                                                                    25 extensions on browser stores operated by companies located in Mountain View, California. Facebook’s

                                                                                                    26 claims arise directly from all of these contacts.

                                                                                                    27             12.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) as the threatened

                                                                                                    28 and actual harm to the Plaintiffs occurred in this district. Venue is also proper with respect to each of the

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                                                                                                                                                                                                              COMPLAINT
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                                                                                                     1   Defendants pursuant to 28 U.S.C. §1391(c)(3) because none of the Defendants resides in the United

                                                                                                     2   States.

                                                                                                     3      IV.          INTRADISTRICT ASSIGNMENT

                                                                                                     4             13.     Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San Francisco
                                                                                                     5 or Oakland division because Facebook is located in San Mateo County.

                                                                                                     6      V.           FACTUAL ALLEGATIONS

                                                                                                     7      1. Background

                                                                                                     8             A. Background on Facebook

                                                                                                     9             14.     Facebook is a social networking website and mobile application that enables its users to
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                                                                                                    10 create their own personal profiles and connect with each other on mobile devices and personal computers.

                                                                                                    11   As of September 2018, Facebook had more than 1.49 billion daily active accounts and over 2.2 billion

                                                                                                    12   monthly active accounts.

                                                                                                    13             15.     Facebook’s News Feed is an automated program that feeds different types of content into
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                                                                                                    14   the users’ individualized Facebook home page. Specifically, News Feed constantly updates lists of stories,

                                                                                                    15 friends’ posts, videos, photos, and advertisements on the users’ home pages.

                                                                                                    16             16.     To create an account, Facebook requires each user to register with a unique username and

                                                                                                    17 password. Registered users can create profiles and make connections on Facebook, including as “friends.”

                                                                                                    18   Users who “friend” each other on Facebook agree to share posts and other connections. Facebook allows

                                                                                                    19   users to segment their friends into discrete lists and set these lists to private, which means they are not

                                                                                                    20   publicly viewable.

                                                                                                    21             17.     Facebook provides its users with control over how to customize their profiles and how

                                                                                                    22   much personal information to include. In addition, Facebook’s Privacy Settings provide users with control

                                                                                                    23   over how much information is viewable online and to whom. For example, users may choose to share only

                                                                                                    24   portions of their profile and keep their list of Facebook friends as “private.”

                                                                                                    25             B. Facebook’s TOS and Policies

                                                                                                    26             18.     Everyone who uses Facebook must electronically agree to Facebook’s TOS (available at

                                                                                                    27   https://www.facebook.com/terms.php) and other rules that govern different types of access to, and use of,

                                                                                                    28   Facebook,          including       Facebook’s        Community           Standards      (available       at

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                                                                                                     1   https://www.facebook.com/communitystandards/),             Platform        Policy       (available        at

                                                                                                     2   https://developers.facebook.com/policy/).

                                                                                                     3          19.     Facebook’s TOS prohibit fake and inauthentic accounts. Section 3.1 of Facebook’s TOS

                                                                                                     4   requires Facebook users provide accurate information about their identity and prohibits deceptive,

                                                                                                     5   misleading, and unlawful conduct. Section 3.1 specifically requires Facebook users to: (a) “Use the same

                                                                                                     6   name that [they] use in everyday life;” (b) “Provide accurate information about [themselves];” and (c)

                                                                                                     7   “Create only one account (your own)[.]”

                                                                                                     8          20.     Section 3.2 of the TOS prohibit use of the platform to do anything “[t]hat is unlawful,

                                                                                                     9   misleading, discriminatory or fraudulent,” or anything “[t]hat infringes or violates someone else’s rights.”
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                                                                                                    10   Section 3.2 also provides that users “may not access or collect data from our Products using automated

                                                                                                    11   means (without our prior permission) or attempt to access data you do not have permission to access.”

                                                                                                    12          21.     Facebook’s Community Standards also prohibit users from misrepresenting their identities

                                                                                                    13   or misusing their profiles by, for example, “[m]aintaining multiple accounts” or “[c]reating inauthentic
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                                                                                                    14   profiles.” Facebook users also may not “[i]mpersonate others” by “[c]reating a profile assuming the

                                                                                                    15   persona of or speaking for another person or entity,” or “[e]ngage in inauthentic behavior” such as creating

                                                                                                    16   fake accounts, setting up profiles with fake names, or participating in “coordinated inauthentic behavior,”

                                                                                                    17   defined to include deliberately misleading people “about the origin of content” or “about the destination

                                                                                                    18   of links off our services.”

                                                                                                    19          22.     Section 1 of Facebook’s Platform Policy expressly requires that third-party developers “not

                                                                                                    20   to “confuse, deceive, defraud, mislead, spam, or surprise anyone.”

                                                                                                    21          23.     Section 3.3 of the Platform Policy restricts developers from using friend lists for any

                                                                                                    22   purpose other than enhancing the app users’ experience in the application.

                                                                                                    23          C. The “Facebook Login” Feature for Web Applications

                                                                                                    24          24.     “Facebook Login” is a feature available to Facebook users, which lets them log into third-

                                                                                                    25   party mobile and desktop applications using their Facebook login credentials. Facebook Login allows

                                                                                                    26   users to customize and optimize their online experiences and to create accounts with third-party web

                                                                                                    27   applications without having to set multiple usernames and passwords. In turn, these third-party web

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                                                                                                     1   applications can use the Facebook Login feature for authentication and to enhance a user’s experience on

                                                                                                     2   the third-party application.

                                                                                                     3          25.     Third-party applications developers create independent web-based mobile and desktop

                                                                                                     4   applications. In order to use the Facebook Login feature on their applications, third-party applications

                                                                                                     5   developers must have a Facebook account and register a developer account with Facebook. In doing so,

                                                                                                     6   they must agree to Facebook’s TOS, Community Standards, and Platform Policy.

                                                                                                     7          26.     The Facebook Login feature protects Facebook users’ credentials and information in

                                                                                                     8   several ways. First, when users provide their credentials for the purpose of logging into the third-party

                                                                                                     9   application using the Facebook Login feature, those credentials are communicated only to Facebook’s
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                                                                                                    10   servers, not to the servers of the application. Second, before any of the users’ public Facebook profile

                                                                                                    11   information is sent to the application for verification purposes, the user must first provide consent through

                                                                                                    12   a custom dialogue box that asks whether the user wants to share the information that the application has

                                                                                                    13   requested. Third, Facebook also monitors applications’ use of the Facebook Login feature
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                                                                                                    14          D. Internet Browser Extensions

                                                                                                    15          27.     Internet browsers, such as the Google Chrome, Opera, and Firefox, are used to access the

                                                                                                    16   internet. Internet browsers follow instructions from websites, in computer code, to render and display a

                                                                                                    17   website’s content for users to see. Websites content is largely delivered in HMTL code. Internet browsers

                                                                                                    18   are designed to render the HTML code and display it in images and text for the user’s screen.

                                                                                                    19          28.     Internet browser extensions are software components that alter a browser’s functionality.

                                                                                                    20   Browser extensions can be installed to enhance user experience and the functionality of the browser. For

                                                                                                    21   example, a browser extension can block pop-up ads.

                                                                                                    22          29.     Browser extensions can also be used in illicit ways. Browser extensions can be coded to

                                                                                                    23   access to the full array of information available to the browser and its functionalities. For example, a

                                                                                                    24   browser extension can be designed to monitor a user’s browsing session, manipulate how the contents of

                                                                                                    25   visited websites is displayed, and take other unauthorized actions.

                                                                                                    26          30.     Browser extensions are available for download by users from online browser stores, which

                                                                                                    27   are often managed by the browser developer (i.e. Chrome Web Store). In order for a browser extension to

                                                                                                    28   install, the user typically must grant permissions for the extension to download and install on their device.

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                                                                                                     1      2. Defendants’ Unlawful Data Harvesting Operation

                                                                                                     2          A. Overview

                                                                                                     3           31.     Between 2016 and 2018, Defendants operated and administered fraudulent third-party

                                                                                                     4   applications, that they made available on public websites, to deceive internet users into installing

                                                                                                     5   malicious extensions. Through these malicious extensions, Defendants scraped user data from social

                                                                                                     6   networking sites, including Facebook. Using the same malicious extensions installed by the app users,

                                                                                                     7   Defendants were also able to inject unauthorized advertisements into app users’ News Feed and into other

                                                                                                     8   views associated with various social networking sites.

                                                                                                     9          32.      Defendants’ scheme generally proceeded in three steps:
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                                                                                                    10          a.       First, Defendants operated and administered at least four web applications. These

                                                                                                    11                   applications were available on websites unaffiliated with Facebook and they largely

                                                                                                    12                   targeted Russian and Ukrainian speakers. These applications offered the Facebook Login

                                                                                                    13                   feature, as well as similar login features for other social networking sites.
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                                                                                                    14          b.       Second, after the app users logged into the fraudulent applications, Defendants caused the

                                                                                                    15                   applications to prompt the users to permit notifications on their browsers and directed them

                                                                                                    16                   to install certain browser extensions available in different browser stores. The app users

                                                                                                    17                   then installed the malicious extensions, which had been created by Defendants and others

                                                                                                    18                   operating in coordination with Defendants. As a result of installing the malicious

                                                                                                    19                   extensions, the app users effectively compromised their own browsers because,

                                                                                                    20                   unbeknownst to the app users, the malicious extensions were designed to scape information

                                                                                                    21                   and inject unauthorized advertisements when the app users visited Facebook or other social

                                                                                                    22                   networking site as part of their online browsing.

                                                                                                    23          c.       Third, Defendants used their fraudulent apps and compromise of the app users’ browsers

                                                                                                    24                   to scrape users’ public profile information (i.e. name, gender, age range, and profile

                                                                                                    25                   picture), their non-publicly viewable list of friends, and to inject advertisements on various

                                                                                                    26                   social networking sites. When the user visited the Facebook site, Defendants injected

                                                                                                    27                   advertisements purporting to originate from Facebook into users’ News Feeds.

                                                                                                    28

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                                                                                                     1          B. Defendants Knowingly and Intentionally Operated the Fraudulent Applications and

                                                                                                     2                Malicious Extensions.

                                                                                                     3           33.     Between 2016 and 2018, Defendants created and caused to be created Facebook accounts,

                                                                                                     4   using aliases such as “Elena Stelmah,” “Amanda Pitt,” “Igor Kolomiiets,” to register as web application

                                                                                                     5   developers with Facebook. In doing so, Defendants misrepresented to Facebook: (a) their true identities,

                                                                                                     6   and (b) that they agreed to and intended to comply with Facebook’s TOS, Community Standards, and

                                                                                                     7   Platform Policy.

                                                                                                     8          34.      From 2016 to 2018, Defendants operated and administered at least four applications called

                                                                                                     9   “Supertest,” “FQuiz,” “Megatest,” and “Pechenka.” These fraudulent applications purported to offer
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                                                                                                    10 horoscopes, and character and popularity assessments. These were available on publicly accessible

                                                                                                    11 websites unaffiliated with Facebook, and targeted Russian and Ukrainian speakers. Screenshots of some

                                                                                                    12 of Defendants’ websites and applications are attached as Exhibits 1-3.

                                                                                                    13          35.      Defendants’ fraudulent applications falsely represented, to anyone using the Facebook
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                                                                                                    14 Login feature, that the user was only granting the applications access to a limited amount of public

                                                                                                    15 Facebook profile information. In fact, Defendants knew that the applications were designed to scrape the

                                                                                                    16 app users’ public profiles on Facebook and other social networking sites, and to prompt users to install

                                                                                                    17 malicious extensions for the purpose of manipulating the users’ browsers and collect the users’ private

                                                                                                    18 and non-publicly viewable lists of friends when the app user visited the Facebook site.

                                                                                                    19          36.      After users logged into the fraudulent applications, Defendants caused the applications to

                                                                                                    20 falsely represent to users: (a) that the malicious extensions were legitimate, and (b) necessary in order for
                                                                                                    21 the applications’ notifications to operate. In fact, Defendants knew that the specific malicious extensions

                                                                                                    22 contained computer code triggered when the self-compromised app users visited different social

                                                                                                    23 networking sites in order to scrape users’ private and non-publicly viewable lists of friends, which had to

                                                                                                    24 been shared with the applications.

                                                                                                    25          37.      The malicious extensions were programmed to communicate with domains hosted on

                                                                                                    26 remote servers located in the Netherlands and controlled by Defendants.

                                                                                                    27          38.      Defendants promoted the malicious extensions on at least three official browser stores,

                                                                                                    28 which generally required users to consent to the installation but did not include consent to scrape user

                                                                                                                                                              8
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                                                                                                     1   information (public or private), inject ads, or otherwise modify their browsing experience when visiting

                                                                                                     2   social networking sites.

                                                                                                     3          C. Defendants Used Fraud and Malicious Extensions To Access and Scrape Private User

                                                                                                     4                Information and To Insert Advertisements onto Facebook Users’ News Feed Without

                                                                                                     5                Authorization.

                                                                                                     6          39.      In 2017 and 2018, Defendants gained unauthorized access to Facebook protected

                                                                                                     7   computers through the app users’ compromised browsers. As explain in paragraph 32 above, Defendants

                                                                                                     8   gained access to the app users’ browsers through malicious extensions which had been installed by the

                                                                                                     9   app users on their browsers. Unbeknownst to the app users, the malicious extensions they had installed
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                                                                                                    10   were programmed to scrape the app users’ list of friends when the app user visited the Facebook site and

                                                                                                    11   accessed their account. In this sense, Defendants used the compromised app users as a proxy to access

                                                                                                    12   Facebook computers without authorization. If the app user did not visit the Facebook site and access their

                                                                                                    13 account, the malicious extensions were unable to scrape any data from Facebook.
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                                                                                                    14          40.      In connection with the malicious extensions, Defendants also used automated scripts in the

                                                                                                    15   form of JavaScript files (“scripts”) to scrape the app users’ list of friends on Facebook. The scripts were

                                                                                                    16   stored on the servers located in the Netherlands and hosted on some of the same domains as the fraudulent

                                                                                                    17   applications, including megatest.pro, megatest.su, testmega.ru, funnytest.pro, and testsuper.su.

                                                                                                    18          41.      The scripts were designed to scrape and exfiltrate the app users’ non-publicly viewable list

                                                                                                    19 of friends, when the app users visited the Facebook site and access their own account. Specifically, when

                                                                                                    20 the app users visited the Facebook site and connected to a Facebook server (a Facebook HTTP server),
                                                                                                    21 the Defendants used the malicious extensions to inject scripts into their compromised browsers. The

                                                                                                    22 scripts were designed to send commands to Facebook’s HTTP servers purporting to originate from the

                                                                                                    23 app user and collect their private list of friends. Defendants caused these commands to be sent—

                                                                                                    24 unbeknownst to the app users and without Facebook’s authorization.

                                                                                                    25          42.      Defendants also created scripts designed to scrape non-public information from other social

                                                                                                    26 networking sites and hosted them on the same remote servers in the Netherlands.

                                                                                                    27          43.      Defendants also used the malicious extensions and scripts to inject advertisements onto the

                                                                                                    28 app users’ News Feeds without users’ knowledge or Facebook’s authorization. These injects modified the

                                                                                                                                                              9
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                                                                                                     1   content rendered on the users’ compromised browsers to include advertisements promoting the fraudulent

                                                                                                     2   applications. An example of one of the ads injected by Defendants is attached as Exhibit 4.

                                                                                                     3           D. Facebook’s Investigation and Remediation Measures

                                                                                                     4           44.      On or about October 12, 2018, Facebook suspended all of Defendants’ known accounts,

                                                                                                     5   applications, and pages and issued Cease and Desist Letters to Defendants. On or about October 31, 2018,

                                                                                                     6   Facebook publicly announced that it had conducted an investigation into malicious extensions that may

                                                                                                     7   have been used to access private user information, contacted law enforcement, and provided users with

                                                                                                     8   information on how to uninstall browser extensions. In addition to the public announcement, Facebook

                                                                                                     9   also contacted browser makers to ensure that the malicious extensions were no longer available in their
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                                                                                                    10   stores and shared information that could help identify additional malicious extensions potentially available

                                                                                                    11   to unwitting users.

                                                                                                    12           45.      In total, Facebook estimates it incurred over $75,000 in investigating and remediating

                                                                                                    13   Defendant’s unlawful conduct.
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                                                                                                    14           46.      In addition, Defendants’ acts interfered with and undermined Facebook’s relationship with

                                                                                                    15   its users.

                                                                                                    16           47.      Defendants’ unlawful acts interfered with the integrity of Facebook’s platform and services

                                                                                                    17   in violation of Facebook’s TOS.

                                                                                                    18                                          FIRST CAUSE OF ACTION

                                                                                                    19                               Violations of the Computer Fraud and Abuse Act

                                                                                                    20                                             18 U.S.C. § 1030 et seq.

                                                                                                    21           48.      Facebook realleges and incorporates by reference all of the preceding paragraphs.

                                                                                                    22           49.      Facebook’s HTTP servers are protected computers involved in interstate and foreign

                                                                                                    23   commerce and communication as defined by 18 U.S.C. § 1030(e)(2).

                                                                                                    24           50.      Defendants used fraud, malicious extensions, and Java Script code to knowingly and

                                                                                                    25   intentionally access and scrape Facebook’s HTTP servers without authorization. Defendants also

                                                                                                    26 accessed, without authorization, the compromised users’ News Feeds, to run unauthorized ads.

                                                                                                    27           51.      Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and with intent to

                                                                                                    28 defraud accessed Facebook protected computers (Facebook’s HTTP servers), by sending unauthorized

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                                                                                                     1   commands, through the malicious extensions, which purported to originate from Facebook users. These

                                                                                                     2   commands were directed to the Facebook HTTP servers for the purpose of furthering Defendants’

                                                                                                     3   fraudulent data harvesting operation, accessing users’ News Feed, and obtaining anything of value,

                                                                                                     4   including user data and the placement of advertisements on the compromised users’ News Feed.

                                                                                                     5          52.     Defendants violated 18 U.S.C. § 1030(a)(5)(A) because they knowingly and intentionally

                                                                                                     6 caused the transmission of a program, information, code, or command and as a result of such conduct

                                                                                                     7 intentionally damaged Facebook protected computers.

                                                                                                     8          53.     Defendants violated 18 U.S.C. § 1030(a)(5)(B) because they intentionally accessed a

                                                                                                     9 protected computer without authorization and as a result of such conduct, reckless caused damage to
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                                                                                                    10 Facebook protected computers.

                                                                                                    11          54.     Defendants violated 18 U.S.C. § 1030(a)(5)(C) because they intentionally accessed a

                                                                                                    12   protected computer without authorization, and as a result of such conduct, caused damage to Facebook

                                                                                                    13   protected computer and a loss.
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                                                                                                    14          55.     Defendants violated 18 U.S.C. § 1030(b) by conspiring or attempting to commit the

                                                                                                    15   violation alleged in the preceding paragraph.

                                                                                                    16          56.     Defendants’ conduct has caused a loss to Facebook during a one-year period in excess of

                                                                                                    17   $5,000.

                                                                                                    18          57.     Defendants’ actions caused Facebook to incur losses and other economic damages,

                                                                                                    19   including the expenditure of resources to investigate and respond to Defendants’ fraudulent scheme.

                                                                                                    20          58.     Facebook has no adequate remedy at law that would prevent Defendants from continuing

                                                                                                    21   their unlawful scheme. Preliminary and permanent injunctive relief are therefore warranted.

                                                                                                    22                                      SECOND CAUSE OF ACTION

                                                                                                    23                   Violations of the California Comprehensive Computer Data Access

                                                                                                    24                                    and Fraud Act Cal. Penal Code § 502

                                                                                                    25          59.     Facebook realleges and incorporates by reference all of the preceding paragraphs.

                                                                                                    26          60.     Through the malicious extensions, Defendants knowingly accessed and without permission

                                                                                                    27   used Facebook data and Facebook’s HTTP servers in order to both (a) devise and/or execute a scheme to

                                                                                                    28

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                                                                                                     1   defraud and deceive; and (b) wrongfully controlled and/or obtain data, all in violation of California Penal

                                                                                                     2   Code § 502(c)(1).

                                                                                                     3           61.     Defendants knowingly and without permission used or caused to be used Facebook’s

                                                                                                     4   computer services in violation of California Penal Code § 502(c)(3).

                                                                                                     5           62.     Defendants knowingly and without permission disrupted or caused the disruption of

                                                                                                     6   computer services and/or denied or caused the denial of computer services to one or more authorized user

                                                                                                     7   of Facebook’s computers, computer systems, and/or computer networks in violation of California Penal

                                                                                                     8   Code § 502(c)(5).

                                                                                                     9           63.     Defendants knowingly and without permission accessed or caused to be accessed
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                                                                                                    10   Facebook’s computers, computer systems, and/or computer networks in violation of California Penal

                                                                                                    11   Code § 502(c)(7).

                                                                                                    12           64.     Defendants knowingly and without permission used the profile of another individual or

                                                                                                    13   entity in connection with the sending of one or more electronic messages or posts, thereby causing damage
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                                                                                                    14   to Facebook’s computers, computer systems, and/or computer networks in violation of California Penal

                                                                                                    15   Code § 502(c)(9).

                                                                                                    16           65.     Pursuant to California Penal Code § 502(e), Facebook is entitled to injunctive relief,

                                                                                                    17   compensatory damages, punitive or exemplary damages, attorneys’ fees, costs, and other equitable relief,

                                                                                                    18   including injective relief as Facebook possesses no adequate remedy at law that would otherwise force

                                                                                                    19   Defendants to stop their illegal activities as set forth in this complaint.

                                                                                                    20                                         THIRD CAUSE OF ACTION

                                                                                                    21                                                Breach of Contract

                                                                                                    22           66.     Facebook realleges and incorporates by reference all of the preceding paragraphs.

                                                                                                    23           67.     Access to and use of Facebook and services is governed by Facebook’s TOS and its related

                                                                                                    24 policies.

                                                                                                    25           68.     Defendants agreed to and became bound by Facebook’s TOS, Community Standards,

                                                                                                    26   Platform Policy, and other related policies by virtue of their use of Facebook, Facebook’s platform, and

                                                                                                    27   various other Facebook services.

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                                                                                                     1          69.    Facebook has performed all conditions, covenants, and promises required of it in

                                                                                                     2   accordance with Facebook’s TOS and related policies.

                                                                                                     3          70.    Defendants knowingly, willfully, repeatedly, and systematically breached Facebook’s

                                                                                                     4   TOS, Community Standards, and Platform Policy.

                                                                                                     5          71.    Defendants’ past violations of Facebook’s TOS, Community Standards, and Platform

                                                                                                     6 Policy, have directly and proximately caused and continue to cause irreparable harm and injury to

                                                                                                     7 Facebook.

                                                                                                     8          72.    When Defendants agreed to and became bound by Facebook’s TOS, Community

                                                                                                     9 Standards, and Platform Policy, both Facebook and Defendants knew or reasonably could have foreseen
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                                                                                                    10 that the harm and injury to Facebook was likely to occur in the ordinary course of events as a result of

                                                                                                    11 Defendants’ breach.

                                                                                                    12                                     FOURTH CAUSE OF ACTION

                                                                                                    13                                                   Fraud
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                                                                                                    14          73.    Facebook realleges and incorporates by reference all of the preceding paragraphs.

                                                                                                    15          74.    Defendants created fake developer accounts on Facebook using knowingly false

                                                                                                    16 information in violation of Facebook’s TOS, Community Standards, and related policies. Defendants also

                                                                                                    17 falsely represented that they intended to comply with Facebook’s TOS, Community Standards, and

                                                                                                    18 Platform Policy. As a result of the false information, Defendants gained access to Facebook as a

                                                                                                    19 developer. Defendants intended that their misrepresentations would be relied on by Facebook, and

                                                                                                    20 Facebook reasonably relied on Defendants’ misrepresentations to permit Defendants to access to and use
                                                                                                    21 of Facebook’s platform.

                                                                                                    22          75.    Defendants also knowingly and intentionally deceived Facebook users, through false and

                                                                                                    23 misleading claims on the web applications, into installing malicious extensions. Defendants then used the

                                                                                                    24 malicious extensions to scrape Facebook users’ list of friends by send commands onto Facebook, which

                                                                                                    25 were designed to appear as if they came from a legitimate Facebook user and not their compromised

                                                                                                    26 browser. Defendants intended that their misrepresentations would be relied on by Facebook, and

                                                                                                    27 Facebook reasonably relied on Defendants’ misrepresentations to permit Defendants to access the app

                                                                                                    28 users’ lists of friends available on Facebook HTTP servers.

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                                                                                                     1          76.     Defendants’ fraudulent conduct and Facebook’s reliance thereon proximately and directly

                                                                                                     2   caused Facebook to suffer significant economic injury. Facebook’s reliance on Defendants’

                                                                                                     3   misrepresentations was also a substantial factor in causing Facebook’s injuries. Defendants have also

                                                                                                     4   caused Facebook to suffer irreparable reputational harm for which Facebook has no adequate remedy at

                                                                                                     5   law.

                                                                                                     6                                         REQUEST FOR RELIEF

                                                                                                     7          WHEREFORE, Plaintiff Facebook requests judgment against Defendants as follows:

                                                                                                     8          1.      That the Court enter judgment against Defendants that Defendants have:

                                                                                                     9                 a. Violated the Computer Fraud and Abuse Act, in violation of 18 U.S.C. 1030;
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                                                                                                    10                 b. Violated the California Comprehensive Computer Data Access and Fraud Act, in

                                                                                                    11                    violation California Penal Code § 502;

                                                                                                    12                 c. Breached their contracts with Facebook in violation of California law; and

                                                                                                    13                 d. Committed fraud on Facebook in violation of California law.
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                                                                                                    14          2.      That the Court enter a temporary restraining order, preliminary injunction, and permanent

                                                                                                    15   injunction enjoining and restraining Defendants and their agents, servants, employees, successors, and

                                                                                                    16   assigns, and all other persons acting in concert with or conspiracy with any of them or who are affiliated

                                                                                                    17   with Defendants from:

                                                                                                    18                 a. Soliciting, storing, and/or using Facebook login information from any current, past, or

                                                                                                    19                    future Facebook user;

                                                                                                    20                 b. Accessing or attempting to access Facebook’s website and computer systems;

                                                                                                    21                 c. Creating or maintaining any Facebook accounts in violation of Facebooks TOS;

                                                                                                    22                 d. Engaging in any activity that disrupts, diminishes the quality of, interferes with the

                                                                                                    23                    performance of, or impairs the functionality of Facebook’s website; and

                                                                                                    24                 e. Engaging in any activity, or facilitating others to do the same, that violates Facebook’s

                                                                                                    25                    TOS, Community Standards, Platform Policy, or other related policy referenced herein.

                                                                                                    26          3.      That Facebook be awarded damages, including, but not limited to, compensatory, statutory,

                                                                                                    27   and punitive damages, as permitted by law and in such amounts to be proven at trial.

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                                                                                                     1         4.     That Facebook be awarded a recovery in restitution equal to any unjust enrichment enjoyed

                                                                                                     2   by Defendants.

                                                                                                     3         5.     That Facebook be awarded its reasonable costs, including reasonable attorneys’ fees.

                                                                                                     4         6.     That Facebook be awarded pre- and post-judgment interest as allowed by law.

                                                                                                     5         That the Court grant all such other and further relief as the Court may deem just and proper.

                                                                                                     6

                                                                                                     7   DATED: March 8, 2019                               Tucker Ellis LLP
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                                                                                                                                                            By: /s/David J. Steele
                                                                                                    10                                                           David J. Steele
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                                                                                                                                                                 Steven E. Lauridsen
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                                                                                                                                                                 Attorneys for Plaintiff,
                                                                                                    13                                                           FACEBOOK, INC.
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                                                                                                    14                                                                  Jessica Romero
                                                                                                                                                                        Michael Chmelar
                                                                                                    15                                                                  Stacy Chen
                                                                                                    16                                                                  Platform Enforcement and Litigation
                                                                                                                                                                        Facebook, Inc.
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                                                                                                     1                                    DEMAND FOR TRIAL BY JURY
                                                                                                     2

                                                                                                     3         Plaintiff Facebook, Inc. hereby demands a trial by jury to decide all issues so triable in this case.

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                                                                                                     5   DATED: March 8, 2019                                Tucker Ellis LLP

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                                                                                                                                                             By: /s/David J. Steele
                                                                                                     8                                                            David J. Steele
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                                                                                                    11                                                             FACEBOOK, INC.

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